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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JEFFREY HORNER,
     Plaintiff,

v.

ORIONS MANAGEMENT GROUP, LLC,
a California company,
       Defendant.
__________________________________________________________________

                         COMPLAINT & JURY DEMAND

        Plaintiff, Jeffrey Horner, through counsel, Michigan Consumer Credit

Lawyers, state the following claims for relief:

     1. This is an action for damages, brought against a debt collector for violating

        the Fair Debt Collection Practices Act at 15 U.S.C. § 1692 et seq.

        ("FDCPA"), Michigan Collection Practices Act at M.C.L. § 445.251 et seq.

        (“MCPA”) and the Michigan Occupational Code at M.C.L. § 339.901 et seq.

        ("MOC").



                                   JURISDICTION

     2. This court has jurisdiction under the FDCPA. 15 U.S.C. § 1692k(d) and 28

        U.S.C. §§ 1331, 1337.
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3. This court may exercise supplemental jurisdiction over the related state law

   claims arising out of the same nucleus of operative facts which give rise to

   the Federal law claims, pursuant to 28 U.S.C. § 1367.



                                 PARTIES

4. Plaintiff is a natural person residing in Algonac, St. Clair County, Michigan.

   Plaintiff is a “consumer” and “person” as the terms are defined and used in

   the FDCPA. Plaintiff is also a “consumer,” “debtor” and “person” as the

   term is defined and or used in the MCPA and MOC.

5. The Defendant to this lawsuit is Orions Management Group, LLC, which is

   a California company that maintains registered offices in Anaheim,

   California.



                                  VENUE

6. The transactions and occurrences which give rise to this action occurred in

   St. Clair County, Michigan.

7. Venue is proper in the Eastern District of Michigan, Southern Division.




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                       GENERAL ALLEGATIONS

8. Defendant is attempting to collect a consumer type debt allegedly owed by

   Plaintiff to GE Capital Retail Bank/Lowes Visa Platinum in the amount of

   $12,933.47 (“the alleged Debt”).

9. The last time that Mr. Horner made a payment on the alleged Debt was in

   2009.

10.On or about November 28, 2016, Mr. Horner received a call at his place of

   employment from Defendant’s representative, Wayne Allen.

11.On or December 2, 2016, Defendant called Mr. Horner’s place of

   employment two times. During the second time it called, Mr. Horner’s

   office manager told Defendant not to call, that Defendant was calling a

   business line, and that Defendant should call Mr. Horner’s house for any

   personal matters.

12.On or about December 8, 2016, Mr. Horner received a letter from

   Defendant. In its letter, Defendant offered to “settle” the alleged Debt for

   $7,725.00 and “release you from all claims and liabilities” pertaining to the

   above-referenced account. This is a violation of the Fair Debt Collection

   Practices Act as the debt is expired by Michigan’s 6 year Statute of

   Limitations. By Defendant offering to “settle” the expired Debt and “release

   you from all claims and liabilities,” it is misrepresenting the legal status of


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   the alleged Debt, implying that it is enforceable through court action, when

   it is not.

13.Despite the office manager’s request for Defendant not to call Mr. Horner at

   his place of employment, Defendant continued to call Mr. Horner at his

   place of employment two times on December 15, 2016.

14.As a result of Defendant’s actions, Plaintiff has suffered damages.



      COUNT I - FAIR DEBT COLLECTION PRACTICES ACT

15.Plaintiff reincorporates the preceding allegations by reference.

16.At all relevant times Defendant, in the ordinary course of its business,

   regularly engaged in the practice of collecting debts on behalf of other

   individuals or entities.

17.Plaintiff is a "consumer" for purposes of the FDCPA and the account at issue

   in this case is a “debt” under the FDCPA.

18.Defendant is a "debt collector" under the FDCPA.

19.Defendant's foregoing acts in attempting to collect this alleged debt violated

   the following provisions of the FDCPA:

      a. 15 U.S.C. §1692c(a)(1) by communicating with a consumer in

          connection with the collection of any debt at any unusual time or

          place known to be inconvenient to the consumer. Defendant did this


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      when it contacted Mr. Horner at his place of employment after Mr.

      Horner’s office manager told Defendant not to call Mr. Horner at his

      work;

   b. 15 U.S.C. §1692c(a)(3) by communicating with a consumer in

      connection with the collection of any debt at the consumer’s place of

      employment when the debt collector knows or has reason to know that

      the consumer’s employer prohibits the consumer from receiving such

      communication. Defendant did this when it contacted Mr. Horner at

      his place of employment even after Mr. Horner’s office manager told

      Defendant not to call Mr. Horner at work;

   c. 15 U.S.C. §1692e(2)(A) by misrepresenting the character, amount or

      legal status of any debt. Defendant did this when it offered to settle

      the alleged Debt by releasing its claims against Mr. Horner when the

      Debt is not enforceable; and

   d. 15 U.S.C. §1692e(10) by using false representations or deceptive

      means to collect or attempt to collect a debt. Defendant did this when

      it offered to settle the alleged Debt by releasing its claims against Mr.

      Horner when the Debt is not enforceable.




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 20.Plaintiff has suffered economic, emotional, general and statutory damages as

    a result of these violations of the FDCPA, plus has incurred costs and

    attorneys' fees.



COUNT II - VIOLATION OF THE MICHIGAN OCCUPATIONAL CODE

 21.Plaintiff incorporates the preceding allegations by reference.

 22. Defendant is a "collection agency" as that term is defined in the Michigan

    Occupational Code ("MOC"), M.C.L. § 339.901(b).

 23.Plaintiff is a debtor as that term is defined in M.C.L. § 339.901(f).

 24.Defendant’s foregoing acts in attempting to collect this alleged debt violated

    the following provisions of the MOC:

       a. MCL §339.915(e) by making an inaccurate, misleading, untrue, or

           deceptive statement or claim in a communication to collect a debt.

           Defendant did this when it offered to settle the alleged Debt by

           releasing its claims against Mr. Horner when the Debt is not

           enforceable;

       b. MCL §339.915(f)(ii) by misrepresenting the legal rights of the

           creditor or debtor. Defendant did this when it offered to settle the

           alleged Debt by releasing its claims against Mr. Horner when the Debt

           is not enforceable;


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      c. MCL §339.915(i) by communicating information relating to a

         debtor’s indebtedness to an employer. Defendant did this when it

         contacted Mr. Horner at his place of employment after Mr. Horner’s

         office manager told Defendant not to call Mr. Horner at work;

      d. MCL §339.915(n) by using a harassing, oppressive, or abusive

         method to collect a debt. Defendant did this when it contacted Mr.

         Horner at his place of employment despite the request not to contact

         him there; and

      e. MCL §339.915(q) by failing to implement a procedure designed to

         prevent a violation by an employee.

25.Plaintiff has suffered damages as a result of these violations of the Michigan

   Occupational Code.

26.These violations of the Michigan Occupational Code were willful.



   COUNT III - VIOLATION OF THE MICHIGAN COLLECTION
                      PRACTICES ACT


27.Plaintiff incorporates the preceding allegations by reference.

28. Defendant is a "Regulated Person" as that term is defined in the Michigan

   Collection Practices Act ("MCPA"), at MCL § 445.251.

29.Plaintiff is a "Consumer" as that term is defined at MCL § 445.251.


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30.Defendant’s foregoing acts in attempting to collect this debt violated the

   following provisions of the MCPA:

      a. MCL §445.252(e) by making an inaccurate, misleading, untrue, or

         deceptive statement or claim in a communication to collect a debt.

         Defendant did this when it offered to settle the alleged Debt by

         releasing its claims against Mr. Horner when the Debt is not

         enforceable;

      b. MCL §445.252(f)(ii) by misrepresenting the legal rights of the

         creditor or debtor. Defendant did this when it offered to settle the

         alleged Debt by releasing its claims against Mr. Horner when the Debt

         is not enforceable;

      c. MCL §445.252(i) by communicating information relating to a

         debtor’s indebtedness to an employer. Defendant did this when it

         contacted Mr. Horner at his place of employment after Mr. Horner’s

         office manager told Defendant not to call Mr. Horner at work;

      d. MCL §445.252(n) by using a harassing, oppressive, or abusive

         method to collect a debt. Defendant did this when it contacted Mr.

         Horner at his place of employment after Mr. Horner’s office manager

         told Defendant not to call Mr. Horner at work; and




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         e. MCL §445.252 (q) by failing to implement a procedure designed to

            prevent a violation by an employee.

   31.Plaintiff has suffered damages as a result of these violations of the MCPA.

   32.These violations of the MCPA were willful.



                          DEMAND FOR JURY TRIAL

      Plaintiff demands trial by jury in this action.



                  DEMAND FOR JUDGMENT FOR RELIEF

   Accordingly, Plaintiff requests that the Court grant them the following relief

against the defendant:

   a. Actual damages.

   b. Statutory damages.

   c. Treble damages.

   d. Statutory costs and attorney fees.




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                            Respectfully submitted,

                            /s/ Gary Nitzkin
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Dated: January 5, 2017




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